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8                                UNITED STATES DISTRICT COURT
9                               CENTRAL DISTRICT OF CALIFORNIA
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11   MICHAEL J. PRAVETZ                        )   Case No. ED CV 18-1081 FMO (SKx)
                                               )
12                              Plaintiff,     )
                                               )
13                v.                           )   ORDER
                                               )
14                                             )
     FEDERAL RETIREMENT THRIFT                 )
15   INVESTMENT BOARD,                         )
                                               )
16                              Defendant.     )
                                               )
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           Having reviewed the parties’ Stipulation to Continue the Scheduling Conference (Dkt. 21,
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     “Stipulation”), and upon finding good cause, IT IS ORDERED THAT the Stipulation (Document
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     No. 21) is granted. The deadlines set forth in the Court’s Order of October 11, 2018 (Dkt. 15),
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     as modified by the Court’s Order of October 30, 2018 (Dkt. 19) are vacated pending resolution
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     of defendant’s Motion to Dismiss for Improper Venue (Dkt. 14).
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     Dated this 19th day of November, 2018.
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                                                                        /s/
24                                                               Fernando M. Olguin
                                                            United States District Judge
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